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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

ROLAND CARLY SAINTLOT,

      Plaintiff,

v.                                                 Case No. 3:18cv441-TKW-MAF

CHRISTOPHER WHITEHEAD,
et al.,

     Defendants.
______________________________/

                                       ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 123). No objections were filed. Upon due consideration of

the Report and Recommendation and the case file, the Court agrees with the

magistrate judge’s disposition of Defendants’ motion for summary judgment.

      Accordingly, it is ORDERED that:

      1.    The Report and Recommendation is adopted and incorporated by

            reference in this Order.

      2.    Defendants’ motion for summary judgment (Doc. 106) is DENIED as

            to:

            a. Plaintiff’s Eighth Amendment excessive force claims against the

                  Defendants in their individual capacities; and
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       b. Plaintiff’s claims for compensatory damages, punitive damages,

          mental and emotional damages, and nominal damages against the

          Defendants in their individual capacities.

 3.    Plaintiff’s claims for retention of jurisdiction and injunctive relief are

       DISMISSED.

 4.    This case is REMANDED to the magistrate judge for further

       proceeding.

 DONE and ORDERED this 19th day of October, 2020.

                            T. Kent Wetherell, II
                           T. KENT WETHERELL, II
                           UNITED STATES DISTRICT JUDGE




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